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 2

 3    Entered on Docket
___________________________________________________________________
    January 31, 2013
 4

 5                             UNITED STATES BANKRUPTCY COURT

 6                                       DISTRICT OF NEVADA

 7                                           ******
     In re:                                    )
 8                                             )            BK-S-11-28575-MKN
     RYAN MITCHELL,
 9                                             )            Chapter 7
                      Debtor.                  )
10   _____________________________________
                                               )
11   ALEC BUNTING, by and through his guardian )            Adv. Proceeding No.: 12-01050-MKN
     ad litem, STELLA RAVELLA, and STELLA )
12   RAVELLA,
                                               )            Date: February 21, 2013
                                 Plaintiffs,
13                                             )            Time: 10:00 a.m.
     v.
14                                             )
                                               )
15   RYAN MITCHELL,                            )
                                 Defendant. )
16   ______________________________________ )
17

18                        ORDER SETTING SCHEDULING CONFERENCE
19
                Good cause appearing:
20
                IT IS HEREBY ORDERED that a scheduling conference is scheduled for February
21
     21, 2013 at 10:00 a.m. in the Foley Federal Building, 300 Las Vegas Blvd. South, Las Vegas,
22
     Nevada, in Courtroom #2 before Judge Mike K. Nakagawa.
23

24              IT IS SO ORDERED.

25 Copies noticed through ECF to:

26
     MARIE ELLERTON marie@memlaw.net, annicca@memlaw.net
     AMBRISH S. SIDHU ecfnotices@sidhulawfirm.com
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 1
     and sent via FIRST CLASS MAIL to:
 2

 3
   RYAN MITCHELL
 4 3370 ST ROSE PARKWAY #638
   HENDERSON, NV 89052
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